6/30/22, 6:27 PM          Case 22-14583-SMG                       Doc 19-2 Broward
                                                                  RealForeclose- FiledCounty
                                                                                       07/01/22        Page
                                                                                             -Auction Calendar                   1 of 2



                                                                                                                    Home         About Us        FAQ   Contact Us



                                                                                                              Tuesday June 14, 2022
                                                                                       < < Previous Auction    Current       Next Auction > >




                         Pursuant to new legislation effective July 1, 2008, F. S. 45.031(10), the Clerk may conduct the sale of real or personal
                                                      property under an order or judgment by electronic means.


                   Running Auctions



                                                     There are no cases currently being auctioned.




                   Auctions Closed or Canceled
                                                                                                                          page   3        of 3


                                                           Auction Type:                                                    FORECLOSURE
                          Auction Sold
                                                           Case #:                                                        CACE-20-014738
                    06/14/2022 10:39 AM ET
                                                           Final Judgment Amount:                                                $25,296.91
                             Amount                        Parcel ID:                                                      514032062110
                          $150,100.00                      Property Address:                                              16891 SW 49 CT
                                                                                                                         MIRAMAR, 33027
                              Sold To
                         3rd Party Bidder                  Plaintiff Max Bid:                                                    $25,296.91




                                                           Auction Type:                                                    FORECLOSURE
                          Auction Sold
                                                           Case #:                                                        CACE-20-015682
                    06/14/2022 10:48 AM ET
                                                           Final Judgment Amount:                                                $34,186.73
                             Amount                        Parcel ID:                                                      514029042250
                          $132,000.00                      Property Address:                                             3809 SW 164 TER
                                                                                                                         MIRAMAR, 33027
                              Sold To
                         3rd Party Bidder                  Plaintiff Max Bid:                                                    $34,186.73




                                                           Auction Type:                                                    FORECLOSURE
                          Auction Sold
                                                           Case #:                                                        CACE-21-005438
                    06/14/2022 10:58 AM ET
                                                           Final Judgment Amount:                                                $17,531.52
                             Amount                        Parcel ID:                                                      484123AB2710
                           $63,200.00                      Property Address:                      3060 HOLIDAY SPRINGS BLVD 17-2
                                                                                                                         MARGATE, 33063
                              Sold To
                         3rd Party Bidder                  Plaintiff Max Bid:                                                    $17,531.52




                                                           Auction Type:                                                    FORECLOSURE
                          Auction Status
                                                           Case #:                                                        CACE-21-008437
                     Canceled per Bankruptcy
                                                           Final Judgment Amount:                                           $1,602,625.91
                                                           Parcel ID:                                                      484103060210
                                                           Property Address:                                              6041 NW 84 TER
                                                                                                                         PARKLAND, 33067
                                                           Plaintiff Max Bid:                                               $1,602,625.91




https://www.broward.realforeclose.com/index.cfm?zaction=AUCTION&Zmethod=PREVIEW&AUCTIONDATE=06/14/2022                                                              1/2
6/30/22, 6:27 PM          Case 22-14583-SMG             Doc 19-2 Broward
                                                        RealForeclose- FiledCounty
                                                                             07/01/22        Page
                                                                                   -Auction Calendar   2 of 2
                          Auction Sold            Auction Type:                                  FORECLOSURE
                    06/14/2022 10:59 AM ET        Case #:                                      CACE-21-011978
                                                  Final Judgment Amount:                              $291,934.72
                             Amount
                                                  Parcel ID:                                    494135021460
                            $200.00
                                                  Property Address:                             6271 NW 14 CT
                             Sold To                                                           SUNRISE, 33313
                            Plaintiff             Plaintiff Max Bid:                                  $296,485.06




                                                  Auction Type:                                  FORECLOSURE
                         Auction Status
                                                  Case #:                                      CACE-21-015936
                       Canceled per Order
                                                  Final Judgment Amount:                              $226,443.42
                                                  Parcel ID:                                    484226172890
                                                  Property Address:                             1900 NW 5 TER
                                                                                       POMPANO BEACH, 33060
                                                  Plaintiff Max Bid:                                       Hidden




                                                                                               page    3    of 3




https://www.broward.realforeclose.com/index.cfm?zaction=AUCTION&Zmethod=PREVIEW&AUCTIONDATE=06/14/2022              2/2
